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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                    SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                                     CR NO. 04-50134-03

 VERSUS                                                       JUDGE HICKS

 RICHARD RANDALE JACKSON                                      MAGISTRATE JUDGE HORNSBY


                                            ORDER

        Before the Court is Defendant’s Motion to Correct Clerical Error [Doc. 173].

 Without objection, the motion is hereby GRANTED, and pursuant to Rule 36 of the

 Federal Rules of Criminal Procedure, the judgment of this Court signed on

 December 8, 2005 under Imprisonment is clarified as follows:

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to
 be imprisoned for a total term of 360 months as to each of Counts Two, Six, Seven, Eight, Nine
 and Ten. Said counts are to run concurrently with one another. The defendant is to receive credit
 for the 5 months served from his arrest on charges in Criminal No. 04-30021-01, United States
 District Court, Western District of Louisiana, until his arrest on these charges.

        THUS DONE AND SIGNED, in Shreveport, Louisiana, this the 12th day of

 January, 2006.
